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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH
                                       NORTHERN DIVISION


COREY JOHNSON on behalf of minor child,
S.J., an individual,                             PLAINTIFF’S REPLY TO DEFENDANTS’
                                                  MEMORANDUM IN OPPOSTION TO
                 Plaintiff,                           PLAINTIFF’S MOTION FOR
                                                     PRELIMINARY INJUNCTION
vs.

CACHE COUNTY SCHOOL DISTRICT, et al.                  Case No.: 1:18-cv-00057-DAK

                  Defendant.                             Judge: Dale A. Kimball
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Attorney for Plaintiff


                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH
                                       NORTHERN DIVISION


COREY JOHNSON on behalf of minor child,
S.J., an individual,                                MEMORANDUM OF POINTS AND
                                                    AUTHORITIES IN SUPPORT OF
                 Plaintiff,                             PLAINTIFF’S REPLY

vs.
                                                      Case No.: 1:18-cv-00057-DAK
CACHE COUNTY SCHOOL DISTRICT, et
al.                                                      Judge: Dale A. Kimball

                  Defendant.




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                         STATEMENT OF ADDITIONAL FACTS1

       On March 15, 2018, the students that made the cheer team at Mountain Crest

High School were instructed to return that evening at 7:00 p.m. to an ice cream gathering

to celebrate. Exhibit BBB (i) and BBB (iv). Plaintiff S.J., her friend E.W. and friend

S.E.J. all attended this meeting and were never instructed not to post an announcement to

social media, but do recall a vague instruction to “be nice.” Id.

       Later that same evening, S.J. and four of her teammates decided to go out to

dinner to celebrate at Costa Vida. While at Costa Vida, there were many other

cheerleaders there celebrating, wearing their cheer shirts, and taking videos of

themselves. Id. Many other posts were shared, but S.E.J. was only able to save one of the

Snaps. See Exhibit CCC (Snap of Mountain Crest Cheerleaders at Costa Vida).

       That following Monday, March 19, 2018, S.J., E.W., S.E.J. and their parents were

asked to meet with the principal, assistant principal, athletic director and cheer coach.

Corey Johnson, S.J.’s father, Shauna Wiberg, E.W.’s mother, and Shani Jensen, S.E.J.’s

mother attended those meetings with their children and recall the administrators

presenting the lyrics sung by the five girls in the video to them in writing. Exhibit BBB

(ii), Exhibit BBB (iii), Exhibit DDD. The administrators stated that this SnapChat video

violated the Constitution’s social media policy, but specifically said that the discipline

was because of the profane language used. No other explanation was given, including

that it was due to a premature announcement.


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 In addition to declarations, live testimony will be presented to lay foundation for exhibits and
additional facts not already in the declarations filed in Petitioner’s Motion for TRO.
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       Shortly thereafter the principal called all members of the team except S.J., and

their parents, to a meeting. At that meeting the principal explained that a post had been

made on social media of the five girls singing a song with profanity, specifically the “f-

word,” and that was what they were responding to. Exhibit BBB (iii) and DDD. She then

reiterated responsible social media usage. Shani Jensen was in attendance at this meeting

and her husband, Terry Jensen, recorded the meeting. Exhibit EEE (Recording of Mtg.)

                                      LEGAL STANDARD

       The District heavily relies on Schrier v. Univ. of Colo., 427 F.3d 1253 (10th Cir. 2005) to

 support the argument that S.J. must meet a higher standard for a Preliminary Injunction

 because the injunction would be a mandatory one. Def. Opp. To TRO (doc. #41), at 10.

 Plaintiff still maintains that this is not a mandatory injunction, as the request is limited to

 withholding punishment of S.J. during the pendency of this case, which would not require the

 Court’s supervision to enforce the injunction.

         If mandatory, the District properly cites that “disfavored injunctions ‘must be more

 closely scrutinized to assure that the exigencies of the case support the granting of a remedy

 that is extraordinary even in the moral course.’” Def. Opp. to TRO, at 10 (quoting O Centro

 Espirita Beneficientes Uniao Do Vegetal v. Ashcroft, 389 F.3d 973, 975 (10th Cir. 2004)).

         The District failed to explain that the Court in Schrier specifically held that the en banc

 ruling, requiring that the factors weigh “heavily and compellingly” in favor of the injunction,

 was abandoned by the 10th Circuit. 427 F.3d at 1261. Instead, the Court simply recognized

 that a mandatory injunction, restoring the status quo, needed to be “more closely scrutinized”

 and did not apply the same heightened standard for cases altering the status quo. Id.

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       The district court in Colorado, in Bray v. QFA Royalties LLC, engaged in a meaningful

analysis of just such a type of injunction and the relevant Tenth Circuit cases that guided their

decision. 486 F.Supp.2d 1237, 1243-1246 (D. Colo. 2007). Specifically, the district court

reviewed the full decisions, including en banc decisions, in Schrier and O Centro, which

discussed in more detail what Courts should consider to closely scrutinize the injunction. Id.

The Bray court summarized these 10th Circuit decisions in holding that “the decision of

whether to grant or deny a request for a preliminary injunction involves a calculation,

undertaken with care and as much information as can be confidently amassed under the time

constraints that exist in a given situation, of how best to preserve the availability of

meaningful relief without visiting greater harm on the entity being restrained if the calculation

is wrong. It is an educated wager, of sorts, guided by a balancing and grading of relative

harm.” Id. at 1244-45.

       Similar to Bray, in this case the relative harms weigh in favor of the injunction. To

weigh the relative harm, we must first identify it. The District has already agreed to allow S.J.

to remain on the cheer team. The only remaining issue is punishment. In Schrier, the

university had already replaced the professor at issue in the case, so granting the injunction

would have displaced the Chair of the Department of Medicine. Id. at 1246. Also, the medical

school would continue to be governed by a chairman that was suing the school during the

case. Id. On the other hand, if the professor were not reinstated, he would lose any benefit

from the chair position during that time. Id. As the Bray court points out, if Schrier was

ultimately successful in his claims, he could be reinstated to his position and any loss of

benefit during the case could be compensated to him monetarily. Id.

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         That is not the case for S.J. If S.J. is forced to wait until the completion of this case,

 she will likely miss cheerleading for the remainder of the school year, if not longer. Unlike a

 medical chair position in a lifelong profession, high school cheerleading is limited to one’s

 time in high school. On the other hand, the risk to the District is minimal. If the District is

 successful in the case, they will simply require S.J. to comply with her reinstatement terms

 later, compliance of which would take her a very short period of time. S.J. has already

 received significant punishment for the time she has been removed from the team, including

 missing cheer camp and the majority of summer practices.

                                       LEGAL ANALYSIS

I.     Irreparable Harm

       First, the District disputes the presumption for irreparable harm when a constitutional

right has been violated. The District cites Heideman v. S. Salt Lake City, 348 F.3d 1182 (10th

Cir. 2001) to support their argument against the presumption. Def. Obj. to TRO, at 12-15. In

Heideman, the Court considered whether the requirement for exotic dancers to wear pasties

infringed on their First Amendment Rights of free speech and expression. Id. Ultimately, the

Court held that the restriction did not impact the speaker’s message and, therefore, the

requirement was not a violation of the plaintiff’s free speech. Id.

       Plaintiff maintains that the loss of a First Amendment right, even for a limited period of

time, establishes irreparable harm. Elrod v. Burns, 427 U.S. 347, 373 (1976); Verlo v. Martinez,

820 F.3d 1113, 1127 (10th Cir. 2016); Awad v. Ziriax, 670 F.3d 1111, 1131 (10th Cir. 2012).

Heideman is a case involving nudity, which is not in and of itself constitutionally protected

speech. 348 F.3d at 1190. Therefore, the restrictions on such nudity do not impact an established

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constitutional right.

        This case is one where S.J. used SnapChat, an application that is at least text and video

messaging and at most social media. As the United States Supreme Court recently recognized,

use of social media is constitutionally protected speech pursuant to the First Amendment. See

Packingham v. North Carolina, 137 S.Ct. 1730 (2017). The Court need not determine the

success of the claim for this prong, instead, as in Verlo, an established right is being infringed

upon and therefore irreparable harm weighs in favor of S.J.

        Second, the District disputes S.J.’s ability to establish irreparable harm outside of the

clear presumption described above. The 10th Circuit has also held that a “plaintiff suffers

irreparable injury when the court would be unable to grant an effective monetary remedy after a

full trial because such damages would be inadequate or difficult to ascertain.” Kikumura v.

Hadley, 242 F.3d 950, 963 (10th Cir. 2001). It is very difficult to ascertain damages for the

continued removal of S.J. from the cheer team. As previously discussed, cheerleading in high

school is limited to a few years and cannot be replaced with any other sport. It is uncertain when

this case will close, but it is unreasonable to expect it will occur before the school year begins.

S.J. is expected to miss important games, opening school year performances, school dance

performances and national tryouts. This harm is not theoretical. S.J. was a cheerleader last year

and is aware of the standard activities she would be performing. She will miss these

opportunities, which are very difficult to assign a cost, if she is not allowed to be reinstated to

the team.

        In a similar case, Hadley v. Rush Henrietta Central School Dist., 409 F.Supp.2d 164,

167-68 (W.D. NY 2006) the court found that the limited nature of high school sports, meaning
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Hadley would never have the same opportunity again, was sufficient to show irreparable harm.

Like Hadley, S.J. will never again have this opportunity to participate in high school cheer.

II.    Substantial Likelihood of success

       A.      Extra-Curricular Activities

       The issue raised by the District of the right to engage in extra-curricular activities, for

purposes of the First Amendment, is a diversion and not critical to the case at hand. The reality

is, if students engage in extra-curricular activities, their involvement in school activities is

greater than other classmates. Cases cited by the District are either irrelevant (specific only to

4th Amendment Violations) or consistent with the already established “disruption” analysis

provided by Tinker.

       B.      Announcement

       Assuming the Defendants’ facts to be true, that they instructed S.J. not to post an

announcement to social media until the assembly the following day, See Def. Obj. to TRO,

Exhibit Q, Declaration of Lori Reynolds, at 5., the Snap at issue is not an announcement. Five

girls were spending time together on their way to a restaurant. A very popular song came on the

radio and S.J. took a video of the five girls singing the chorus to the song. The cheer team was

given their cheer shirts and never instructed to not wear them. In fact, many other cheerleaders

were seen at Costa Vida wearing their cheer shirts and all cheerleaders wore their shirts to school

the following day before the assembly.

       C.      Social Media

       Unlike Facebook, SnapChat is very private and limited in content. Many Facebook

accounts, unbeknownst to the user, are public. Like many new advances in technology, SnapChat

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allows friends to talk, similar to Skype. The Snaps are meant to be temporary and spontaneous

and are messages to friends, not the public. Friends text videos, images and messages on group

texts, skype, and use other video chat applications, but there is no clear line for when the

message becomes social media. In this case, S.J. was recording her and her friends singing a

song, which ended up being sent to a number of her close friends with SnapChat. When

Facebook users often have hundreds of friends, sending a video to 30 people via SnapChat is no

different than other non-social media methods.

       D.      Insubordination

       The District has never justified their actions of removing S.J., or the other four

cheerleaders, because of insubordination until this Court action. The District met with parents

individually and then in a group with the rest of the team and each time reiterated that the

action was because of the profanity in the Snap. When specifically asked by Shani Jensen what

exactly the girls had done wrong, the administration described five girls that had recorded

themselves singing a song with profanity and posting it online. Never was it mentioned that

this was perceived as bullying, threatening or insubordinate behavior.

       Several of the cheerleaders have executed declarations, and will testify at the

evidentiary hearing in this case, that the administration never instructed them not to announce

their placement on the team on social media. Other cheerleaders at Costa Vida were similarly

using SnapChat to record videos with their friends and were also wearing their cheer shirts. If

the administration had discussed the prohibition on announcing the girls making the team, it

was in broad terms of being nice or, alternatively, the instruction was not given to all 25 girls.

       Corey Johnson, Shani Jensen, Shauna Wiberg and their respective daughters were all

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told that the discipline was for profanity and were given no other explanation. All three were

also provided a printout of the lyrics to I.D.F.W.U., the song the girls sang, which is also

consistent with the explanation given at the time, that the girls were disciplined for profane

language. The new explanation for discipline by the District is a convenient after-the-fact

attempt to absolve themselves from liability and is not supported by the objective evidence in

this case. Throughout all of Mr. Johnson’s appeals, he continually discussed the profanity, as

he was told that was the basis for the discipline. The District made no attempt to correct Mr.

Johnson. Further, the terms of reinstatement for S.J. were not focused on anti-bullying or

insubordination. They were focused on appropriate social media usage, which is also consistent

with Plaintiff’s presentation of facts.

         Finally, even assuming the facts in favor of defendants, the actions of S.J. do not rise

 to the level of insubordination necessary to reasonably forecast or cause a material and

 substantial disruption necessary under Tinker. For the school’s forecast to be reasonable, it

 should be based on a concrete threat of substantial disruption. See Taylor v. Rosewell

 Independent School Dist., 713 F.3d 25, 37 (10th Cir. 2013). S.J. posted a Snap singing a song

 with friends. Just because Ms. Reynolds subjectively perceived this as a threat to her

 authority, and the act was therefore insubordinate, there still must a concrete threat of

 disruption and that disruption must be substantial. Id.

         The fact that one or two girls may have seen the video as a celebration and had hurt

 feelings, which was only vaguely referenced in Defendants’ Declarations, is not a substantial

 disruption. If it were, the Court in J.C. ex rel. R.C. v. Beverly Hills Unified School District,

 711 F.Supp.2d 1094 (E.D. Cal. 2010) would have held differently. In that case the disruption
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included students missing classes and a young girl that was humiliated. Id. Any reference to

reputation or rivalry is similarly not substantial. The Snap was not vulgar or offensive and

certainly did not fuel the “sometimes violent fires of the rivalry.” Def. Obj. to TRO, at 20.

Certainly, a distinction can be made between a confederate flag and recording oneself sing a

Big Sean song, or at least one hopes the District can draw one.

       As for reputation, the song was made privately, with a private account, off school

property. Further, it did not have any particular message of hate, and did not bully or harass

anyone. The impact on the reputation of the cheer squad is minimal at best.

       The District has made similar arguments in this case as the State did in B.L. by Levy v.

Mahoney Area School District, 289 F.Supp.3d. 607, 613 (M.D. Pa. 2017), but the Third

Circuit did not find them compelling. In that case, a high school student posted a Snap, which

was a picture of herself holding her middle finger up (flipping off the camera) with text below

that read “fuck school fuck softball fuck cheer fuck everything.” Id. at 610. Initially B.L. was

told that she was being disciplined for “disrespecting the school,” but later was told it was for

use of profanity. Id. 610-613

       Ultimately, the Court was not persuaded by the school district’s arguments and found

that if we followed the district’s logic it would result in students being “barred from an

extracurricular activity if they were at home with friends and uttered a profanity that was

subsequently reported to the school . . . interpreting this Circuit's jurisprudence to allow

school children to serve as Thought Police—reporting every profanity uttered—for the

District. Such construction is ‘unseemly and dangerous.’” Id. at 613 (quoting Layshock ex rel.

Layshock v. Hermitage School Dist., 650 F.3d 205, 216 (3rd Cir. 2011)).
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          Ms. Reynolds found the Snap in this case to be either disrespectful or profane, neither

 of which are sufficient to infringe on S.J.’s First Amendment rights. Not surprisingly, the

 District relies heavily on Lowery v. Euverard, 497 F.3d 584 (6th Cir.2007). In that case, a

 football player started a petition to remove his coach from his position. Id. In Lowery, the

 Court found that the petition amounted to a threat against the coach as it was an attempt to

 have him fired, as well as required the team to choose between the student and the coach,

 which was expected to cause a disruption. Id. at 591-594.

          Even if instructed not to announce on social media, S.J. followed that instruction. And

 even if perceived as an announcement, the District found this request not to post to social

 media so important that they claim to have announced it at an ice cream social where the girls

 were excitedly chatting and celebrating the news of making the team and collecting their

 shirts. The school was sending 25 cheerleaders out into the world with their cheer shirts on. It

 is unclear why the District thought that others would be sheltered from the announcement,

 and especially in such a small community. Wearing of the shirt, which was not condemned,

 was an announcement and more public than S.J.’s Snap. It is unreasonable to anticipate that

 the Snap would have caused any disruption, let alone a substantial one.

                                    RELIEF REQUESTED
       All four factors for granting a preliminary injunction weigh in Plaintiff.S.J.’s favor.

For all the foregoing reasons, Plaintiff respectfully requests that this Court grant Plaintiffs

motion.

          Dated: June 25, 2018




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                              UTAH LEGAL CLINIC
                              Attorney for Plaintiff
                              by____/s/ Angela H. Elmore____________
                              Angela H Elmore, Esq.




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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the foregoing PLAINTIFF’S REPLY TO DEFENDANTS’
MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY
INJUNCTION was e-filed with the Court this 25th day of June 2018 via the Court’s CM/ECF
software which is relied upon to promptly notify e-filer counsel of this filing and was also
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                                   EXHIBIT LIST
                 (Continued Numbering from Plaintiff’s Motion for TRO)

CCC – Snap of Mountain Crest Cheerleaders at Costa Vida
DDD – Declaration for Shani Jensen
EEE – Recording of Meeting with Cheer Team and their Parents Discussing Discipline




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